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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII



  LAI YING TSANG; SCOTT JEFFERSON,               Case No. 1:23-CV-00333-MWJS-
                                                 KJM
                       Plaintiffs,
              vs.                                DECLARATION OF SCOTT
  PORTER MCGUIRE KIAKONA, LLP;                   JEFFERSON
  ASSOCIATION OF APARTMENT OWNERS
  OF THE PACIFIC ISLANDER,                       [IN SUPPORT OF PLAINTIFFS
                                                 MEMORANDUM IN OPPOSITION
                        Defendants.              TO DEFENDANT’S MOTION TO
                                                 AMEND RULE 16 SCHEDULING
                                                 ORDER AND FOR DISCOVERY
                                                 SANCTIONS]




                     DECLARATION OF SCOTT JEFFERSON

              I, Scott Jefferson, declare and state as follows:

              1.    I have personal knowledge of the facts contained in this

  declaration and if called as a witness, I could and would testify as to their

  accuracy.

              2.    Since retaining new attorneys, I learned that my attorneys

  let me and my wife down. They should have prepared us for our depositions

  and most of all, requested an interpreter for my wife.

              3.    My wife is a native Chinese speaker and when she is

  stressed and confronted, she will say, “No” for everything. Even though the

  obvious answer is “Yes.” It is a quirk that I know about her as her husband,
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  which no one else does.         Accordingly, her denials in deposition were not

  perjury, but rather the result of the stressful circumstances she was under.

               4.     Kaddy later told me that she was so focused on the screen

  and the questions she could not realize what I was doing in the room.          So,

  when Mr. Wall asked about me being in the room and what I was doing, she

  did not know what you were talking about. All she could do was focus intently

  on the screen.

               5.     Since the start of this case, I told my lawyers that I bought

  the Pacific Islander as an investment and that I did plan to reside there also.

  My lawyers seemed to focus on the residence. I even asked them, “What does it

  matter?”    But they never responded and explained to me the significance.

  Many times I asked my lawyers to explain things to me because I do not speak

  “legalese”, but it fell on deaf ears.

               6.     If and when Kaddy and I do move to Hawaii, I would prefer to

  reside at the Pacific Islander than my Kuhio Apartment because it is slightly

  bigger and the building is for long-term tenants.      So, there would be less

  transient neighbors and a more stable place to live.

               7.     About producing emails to my realtor and two property

  managers in Hawaii.       When my lawyers asked me for such things, I did a

  search for “Jenny Pham”, “Mark Howard”, “Stott”, etc. on my computer and

  converted the emails to PDF files and emailed them all to my lawyers. I did not

  screen them or pick and choose which emails to send to my lawyers. I sent

  them all.



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              I declare under penalty of perjury that the foregoing is true and

  correct to the best of my knowledge, information, and belief.

              Executed this 4th day of October 2024 in New York.




                                       SCOTT JEFFERSON




                                         3
